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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                 November 14, 2014


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Rm. 24329
St. Louis, MO 63102


      Re: David Anthony Stebbins
          v. United States District Court for the Western District of
          Arkansas
          No. 14-7114
          (Your No. 14-2686, 14-2711)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
November 12, 2014 and placed on the docket November 14, 2014 as No. 14-7114.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Michael Duggan
                                        Case Analyst




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